Case 2:04-cr-20460-STA Document 22 Filed 08/01/05 Page 1 of 2 Page|D 24

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|N THE UN|TED STATES DISTR|CT COURT

FOR THE WEsTEHN DisTalcT oF TENNESSEE:£§S -l il 12= 31
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UN|TED STATES OF AMER|CA,
Plaintift,

VS.
CR. NO. 04-20460-B

CHR|STOPHER M. WALDEN,

Detendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

Thls cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance ot the August 1, 2005 trial date due to the defendant’s
absence.

The Court granted the request and reset the trial date to September 6, 2005 With a

report date of Monday, August 29, 2005, at 9:30 a.m., in Courtroom 1. 11th Floor of the
Federa| Bui|ding, N|emphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this l day Oi-c}u-|-y, 2005.

 

. D NlEL BREEN \
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DISTRIC COURT -WESTER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

